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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT


JOHN DOE,                                     CIVIL ACTION NO.:
                                              3:19-cv-00620 AWT
                      Plaintiff,
      vs.

YALE UNIVERSITY, MARVIN
CHUN, JOHN MAYES, JORDAN
PILANT, MARIA PIÑANGO, MARK
SOLOMON, JORDON WHITE,
ANGELA GLEASON,
                                              July 1, 2019
                      Defendants.




            DECLARATION OF JORGE I. HERNANDEZ, ESQ.
IN SUPPORT OF PLAINTIFF’S REQUEST TO ENTER OF DEFAULT


      Jorge I. Hernandez, ESQ. hereby declares subject to the penalties of
perjury pursuant to 28 U.S.C. § 1746:
      1. I am an attorney for the plaintiff, John Doe (“Plaintiff”).
      2. I submit this declaration in support of Plaintiff’s Request To Enter
Default.
      3. In the instant action, Defendants filed a Waiver of the Service of
Summons with the Court on April 29, 2019. (Exhibit 1.)
      4. In the Waiver, Defendant’s Counsel stated
      I also understand that I, or the entity I represent, must file and
                                        -1-
                                               Declaration of Hernandez ISO Default of Defendants
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     serve an answer or a motion under Rule 12 within 60 days from
     April 29, 2019, the date when this request was sent (or 90 days if
     it was sent outside the United States). If I fail to do so, a default
     judgment will be entered against me or the entity I represent.
Docket 16 at p. 2.
         5. No responsive pleading has been filed from any Defendant in this case
upon the filing of this Request to Enter Default.


Dated this 1st day of July, 2019.
                                                            /s/ Jorge I. Hernandez
                                                            Declarant
                                                            JORGE I. HERNANDEZ, Esq.
                                                            823 ANCHORAGE PLACE
                                                            CHULA VISTA, CA 91914
                                                            Jorge@JIHLAW.com
                                                            619-475-6677
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                                                                    Declaration of Hernandez ISO Default of Defendants
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                      UNITED STATES DISTRICT COURT

                         DISTRICT OF CONNECTICUT



  JOHN DOE,                                     CIVIL ACTION NO.:
                                                3:19-cv-00620-AWT
                        Plaintiff,

        VS.


 YALE UNIVERSITY, MARVIN
 CHUN, JOHN MAYES, JORDAN
 PILANT, MARIA PI&ANGO, MARK
 SOLOMON, JORDON WHITE,
 ANGELA GLEASON,
                                                April 29, 2019
                        Defendants.




                  WAIVER OF THE SERVICE OF SUMMONS
      To: Jorge I. Hernandez, Esq., attorney for Plaintiff:
      I have received your request to waive service of a summons in this action
along with a copy of the complaint, two copies of this waiver form, and a prepaid
means of returning one signed copy of the form to you.
      I, or the entity and individuals I represent (YALE UNIVERSITY, MARVIN
CHUN, JOHN MAYES, JORDAN PILANT, MARIA PIN
                                         - ANGO, MARK
SOLOMON, JORDON WHITE, ANGELA GLEASON) agree to save the expense
of serving a summons and complaint in this case. I understand that I, or the entity
and individuals I represent, will keep all defenses or objections to the lawsuit, the
court's jurisdiction, and the venue of the action, but that I waive any objections to
the absence of a summons or of service.

                                          -1-
                                                                  Waiver of Service of Summons



                                                                                     Exhibit 1
                                                                                      Page 1
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           I also understand that I, or the entity I represent, must file and serve an
answer or a motion under Rule 12 within 60 days from April 29, 2019, the date
when this request was sent (or 90 days if it was sent outside the United States). If I
fail to do so, a default judgment will be entered against me or the entity I represent.


                                                                            THE DEFENDANTS,
                                                                            YALE UNIVERSITY, MARVIN
                                                                            CHUN, JOHN MAYES, JORDAN
                                                                            PILANT, MARIA PINANGO, MARK
                                                                            SOLOMON AND JORDON WHITE


                                                                           BY?   '14-Ay-1;"----- DATE:                              VA ?AV
                                                                           Patrick M. Noonan
                                                                           Donahue, Durham & Noonan, P.C.
                                                                           741 Boston Post Road
                                                                           Guilford, CT 06437
                                                                           e-mail PNoonan@ddnctlaw.com
                                                                           (203) 458-9168

           Duty to Avoid Unnecessary Expenses of Serving a Summons
       Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to
cooperate in saving unnecessary expenses of serving a summons and complaint. A
defendant who is located in the United States and who fails to return a signed
waiver of service requested by a plaintiff located in the United States will be
required to pay the expenses of service, unless the defendant shows good cause for
the failure.
       "Good cause" does not include a belief that the lawsuit is groundless, or that
it has been brought in an improper venue, or that the court has no jurisdiction over
this matter or over the defendant or the defendant's property.
       If the waiver is signed and returned, you can still make these and all other
defenses and objections, but you cannot object to the absence of a summons or of
service.
       If you waive service, then you must, within the time specified on the waiver
form, serve an answer or a motion under Rule 12 on the plaintiff and file a copy
with the court. By signing and returning the waiver form, you are allowed more
time to respond than if a summons had been served. •

CADOCSUIFILAW \Clients \ I 9S \ 19-17 \ 19-17-0001 \P-Pleadings \ 190429 Summons Waiver Defendants.doe




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                                                                                                         Waiver of Service of Summons



                                                                                                                            Exhibit 1
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